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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

In re:
NEXT COMMUNICATIONS, INC.,                         Case No. 16-26776-RAM
       Debtor.                                     Chapter 11
_____________________________/

NEXT COMMUNICATIONS, INC.,                         Adv. Proc. No.:17-01442-RAM
     Plaintiff,
v.

TERREMARK NORTH AMERICA, LLC,
VERIZON COMMUNICATIONS, INC.,
and EQUINIX, INC.,
      Defendants.
_____________________________/

     PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE OF DEFENDANT
          EQUINIX INC., PURSUANT TO SETTLEMENT AGREEMENT

       NEXT COMMUNICATIONS, INC., Plaintiff, notices the dismissal with prejudice of
EQUINIX, INC., pursuant to settlement agreement (DE#265 in main case) approved by Order of
the Court (DE#268 in main case).

       I CERTIFY THAT a copy of the above was served electronically on all parties entitled to
such notice by this Court's ECF system on October 7th, 2019.

AM LAW
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